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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                             CASE NO. 12-61826-CIV-ZLOCH/HUNT


  MATTHEW BENZION, individually and
  on behalf of others similarly situated,

                Plaintiff,

  v.

  VIVINT, INC.,

             Defendant.
  ________________________________/


         GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES

         This matter is before this Court sua sponte. The Honorable William J. Zloch,

  United States District Judge, referred all pretrial matters to the undersigned for

  disposition or report and recommendation. See 28 U.S.C. § 636(b); see also S.D. Fla.

  L.R., Mag. R. 1. In order to efficiently resolve discovery disputes, the parties are hereby

  notified that the following rules apply to discovery objections before this Court.       In

  addition, the procedure for filing discovery motions is set forth in Attachment AA@ to this

  Order and is incorporated herein. This procedure does not apply to any discovery

  motion currently pending before the undersigned, but shall apply to any motion filed

  after the date of this Order.

  1. Vague, Overly Broad, and Unduly Burdensome

         The parties shall not make nonspecific, boilerplate objections. Such objections

  do not comply with Local Rule 26.1(g)(3)(A), which provides, AWhere an objection is
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  made to any interrogatory or sub-part thereof or to any document request under Federal

  Rule of Civil Procedure 32, the objection shall state with specificity all grounds.@

  Objections that state that a discovery request is Avague, overly broad, or unduly

  burdensome@ are, standing alone, meaningless and will be found meritless by this

  Court. A party objecting on these grounds must explain the specific and particular way

  in which a request is vague, overly broad or unduly burdensome. See Fed. R. Civ. P.

  33(b)(4); Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“[T]he mere

  statement by a party that the interrogatory was ‘overly broad, burdensome, oppressive

  and irrelevant’ is not adequate to voice a successful objection to an interrogatory.”).

  Additionally, if a party believes that a request is vague, the party shall attempt to obtain

  clarification prior to objecting on this ground.

  2. Objections Based Upon Scope

         If there is an objection based upon an unduly broad scope, such as timeframe or

  geographic location, discovery should be provided as to those matters within the scope

  that is not disputed. For example, if discovery is sought nationwide for a ten-year

  period, and the responding party objects on the grounds that only a five-year period

  limited to activities in the State of Florida is appropriate, the responding party shall

  provide responsive discovery falling within the five-year period as to the State of Florida.

  3. Irrelevant and Not Reasonably Calculated to Lead to Admissible Evidence

         An objection that a discovery request is irrelevant and not reasonably calculated

  to lead to admissible evidence must include a specific explanation describing why the

  request lacks relevance and why the information sought will not reasonably lead to

  admissible evidence. The parties are reminded that the Federal Rules allow for broad

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  discovery that need not be admissible at trial. See Fed. R. Civ. P. 26(b)(1); S.D. Fla.

  L.R. 26.1(g)(3)(A); see also Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351–52

  (1978).

  4. Formulaic Objections Followed by an Answer

           The parties shall not recite a formulaic objection followed by an answer to the

  request. It has become common practice for a party to object on the basis of any of the

  above reasons, and then state, Anotwithstanding the above,@ the party will respond to

  the discovery request, subject to or without waiving such objection.        This type of

  objection and answer preserves nothing and serves only to waste the time and

  resources of the parties and this Court. Further, such practice leaves the requesting

  party uncertain as to whether the question actually has been fully answered or

  whether only a portion of the question has been answered. See ABA Civil Discovery

  Standards at 18–19 (2004), available at, http://www.americanbar.org/content/dam/aba/

  administrative/litigation/litigation-aba-2004-civil-discovery-standards.authcheckdam.pdf;

  see also S.D. Fla. L.R. 26.1(g)(3)(A).

  5. Objections Based Upon Privilege

           Generalized objections asserting attorney-client privilege or work-product

  doctrine also do not comply with the Local Rules. S.D. Fla. L.R. 26.1(g)(3)(B) requires

  that objections based upon privilege identify the specific nature of the privilege being

  asserted, as well as, inter alia, the nature and subject matter of the communication at

  issue and the sender and receiver of the communication and their relationship to each

  other.    The parties are instructed to carefully review this rule and to refrain from

  objections such as, AObjection. This information is protected by attorney-client and/or

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  work-product privilege.@ If a general objection of privilege is made without attaching a

  proper privilege log, the objection of privilege may be deemed to have been waived.

          DONE AND ORDERED at Fort Lauderdale, Florida this 16th day of January

  2014.



                                          _____________________________________
                                          PATRICK M. HUNT
                                          UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:

  Honorable William J. Zloch

  All Counsel of Record and/or pro se Parties




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                                      ATTACHMENT A

         DISCOVERY PROCEDURE FOR MAGISTRATE JUDGE PATRICK M. HUNT

  MEET AND CONFER

  Counsel must actually confer (either in person or via telephone) and engage in a
  genuine effort to resolve discovery disputes before filing discovery motions.

  DISCOVERY MOTIONS

  If, after conferring, the parties are unable to resolve their discovery disputes without
  Court intervention, the moving party shall file a motion, no more than 5 pages in
  length. The moving party may attach as exhibits to the motion materials relevant to the
  discovery dispute.       For example, if the dispute concerns interrogatories, the
  interrogatory responses (which restate the interrogatories) shall be filed, with an
  indication of which interrogatories remain in dispute. Because the parties may attach
  relevant discovery to the motion, compliance with S.D. Fla. L.R. 26.1(h)(2) or (3) is not
  required. The movant shall include in the motion a certificate of good faith that complies
  with S.D. Fla. L.R. 7.1(a)(3).

  RESPONSES TO MOTIONS

  The responding party shall file a response to the discovery motion within five (5) days of
  receipt of the motion. The response shall be no more than 3 pages in length. The
  responding party may attach as exhibits materials relevant to the discovery dispute, as
  outlined above.

  No reply memoranda are permitted absent specific court order.

  The Court will set a discovery conference on the issues presented if deemed
  appropriate.

  These procedures do not relieve parties of the requirements of any Federal Rule of Civil
  Procedure or Local Rule except as noted above.

  The parties shall notify chambers as soon as practicable if they resolve some or all of
  the issues in dispute.
  EXPENSES, INCLUDING ATTORNEY’S FEES

  This Court reminds the parties and counsel that Federal Rule of Civil Procedure
  37(a)(5) requires courts to award expenses, including fees, unless an exception (such
  as the existence of a substantially justified, albeit losing, discovery position) applies to
  the discovery dispute and ruling.


    THIS COURT MAY DECLINE TO CONSIDER A MOTION OR RESPONSE WHICH
                 DOES NOT COMPLY WITH THIS PROCEDURE




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